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                                        December 13, 2024                                     Rachel Geman
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VIAECF


Hon. Sidney H. Stein
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

                   RE:   The New York Times Company v. Microsoft Corp., et al., Case No. 1:23-
                         cv-11195-SHS-OTW ("New York Times"); Authors Guild, et al., v.
                         OpenAI Inc., et al. Case No. 1:23-cv-08292-SHS-OTW ("Authors Guild")

Dear Judge Stein:

                The parties in the above referenced consolidated actions jointly request an
extension of the deadlines relating to Defendants' objections to recently issued discovery orders
and Plaintiffs' responses to those objections.

               These discovery orders relate to Magistrate Judge Wang's November 22, 2024
order in the New York Times case, which denied OpenAI's motion to compel the production of
discovery that OpenAI contends is relevant to its fair use defense. See New York Times ECF 344.
OpenAI filed an objection to that discovery order on December 6, 2024 (ECF 362), and The
Times's deadline to respond to that objection is December 20, 2024. See Fed. R. Civ. P. 72(a);
Local Rule 72.1(b).

                On December 2, 2024, Magistrate Judge Wang denied five other motions filed by
OpenAI and Microsoft in the New York Times case, "for the reasons stated in ECF 344." See ECF
351, 352, 353, 354, 355. Also on December 2, 2024, Magistrate Judge Wang denied two motions
filed by OpenAI and Microsoft in the Authors Guild case, "for the reasons identified in ECF 344
in the related [New York Times] case." Authors Guild ECF 289, 290. Defendants' objections to
these seven orders are currently due on December 16, 2024. See Fed. R. Civ. P. 72(a). Plaintiffs
may respond to any objections by December 30, 2024. See Local Rule 72.1(b). The Local Rules
are silent regarding replies.

                Because all eight discovery orders are based on the same reasoning, the parties
request a brief extension to align the deadlines for Defendants' objections and Plaintiffs'




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responses. The parties also seek a brief extension of time in light of counsel's schedules and the
holidays. This is the parties' first request for an extension of these deadlines.

               The parties jointly request that Your Honor extend the deadlines as follows:

               Monday, December 23, 2024: Deadline for Defendants'
               objections to the orders at New York Times ECF 351, 352, 353,
               354, and 355 and Authors Guild ECF 289 and 290.

               Friday, January 17, 2025: Deadline for The Times to respond
               to OpenAI's objection filed at ECF 362, as well as Plaintiffs'
               deadlines to respond to any additional objections that Defendants
               file to the discovery orders issued at New York Times ECF 351,
               352,353,354, and 355, and Authors Guild ECF 289 and 290.

               Monday, January 27, 2025: Deadline for Defendants to file
               any reply briefs in support of their objections to the orders at New
               York Times ECF 344,351,352,353,354, and 355 and Authors
               Guild ECF 289 and 290.

                                              Respectfully submitted,


                                              Isl Rachel Ceman
                                              Rachel Geman
                                              Lieff Cabraser Heimann & Bernstein, L.L.P.

                                              Counsel for the Authors Guild Plaintiffs


                                              Isl Ian B. Crosby (with consent)
                                              Ian B. Crosby
                                              Susman Godfrey, L.L.P.

                                              Counselfor Plaintiff The New York Times


                                              ls/Andrew Dawson (with consent)
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                                              Keker, Van Nest & Peters LLP

                                              Counsel for Defendant OpenAI
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                                                 Isl Laura Naiemy (with consent)
                                                 Laura Najemy
                                                 Orrick, Herrington & Sutcliffe LLP

                                                 Counsel for Defendant Microsoft

cc:         All Counsel of Record (via ECF)
3148171.1




The request for an extension of the deadlines as set forth above is granted. This endorsed letter shall
be filed in 23-cv-8292 and 23-cv-11195.
Dated: New York, New York
       December 13, 2024




                                                                        , U.S.D.J.
